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                           UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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      JESUS BAEZ CHAVEZ,                     )    Case No. LA CV 15-1210 AG (JCG)
12                                           )
                        Plaintiff,           )    ORDER ACCEPTING REPORT AND
13                                           )    RECOMMENDATION OF UNITED
               v.                            )    STATES MAGISTRATE JUDGE
14    RANDY L. TEWS, et al.,                 )
                                             )
15                      Defendants.          )
                                             )
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            Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
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      Magistrate Judge’s Report and Recommendation, and the remaining record. No
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      objections to the Report and Recommendation have been filed.
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            Accordingly, IT IS ORDERED THAT:
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            1.    The Report and Recommendation is approved and accepted.
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            2.    Judgment be entered dismissing this action without prejudice.
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            3.    The Clerk serve copies of this Order and the Judgment on the parties.
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      DATED: February 26, 2016
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                                                   HON. ANDREW J. GUILFORD
28                                               UNITED STATES DISTRICT JUDGE
